    Case 2:18-cv-08420-RGK-JC Document 165-5 Filed 11/17/20 Page 1 of 1 Page ID #:1777
 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER
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 ATTORNEY(S) FOR: Proposed Claimants Roarke and Colin Lacey

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
United States of America,                                                     CASE NUMBER:


                                                                                                   18CV08420-RGK
                                                              Plaintiff(s),
                                     v.
$1,546,076.35 IN BANK FUNDS SEIZED FROM
                                                                                             CERTIFICATION AND NOTICE
REPUBLIC BANK OF ARIZONA ACCOUNT
                                                                                               OF INTERESTED PARTIES
‘1889, ET AL.,                                                                                     (Local Rule 7.1-1)
                                                             Defendant(s)


TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for          Proposed Claimants Roarke Lacey and Colin Lacey As Beneficiaries
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                 CONNECTION / INTEREST
Michael Lacey                                                                 Claimant

Primus Trust Corporation                                                      Potential Claimant

Trustee for Binghamton Trust                                                  Potential Claimant

Jill K. Anderson                                                              Potential Claimant

Roarke Lacey                                                                  Potential Claimant

Colin Lacey                                                                   Potential Claimant




         11/17/2020                                        S/Benjamin P. Lechman
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Proposed Claimants Roarke and Colin Lacey


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
